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1    Cynthia Z. Levin, Esq.
2    Law Offices of Todd M. Friedman, P.C.
     1150 First Avenue, Suite 501
3
     King of Prussia, PA 19406
4    Phone: 888-595-9111 ext 618
5
     Fax: 866 633-0228
     clevin@attorneysforconsumer.com
6    Attorney for Plaintiff
7

8
                       UNITED STATES DISTRICT COURT
9
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
10
     SANDRA VAZQUEZ,                  )             Case No.
11
                                      )
12   Plaintiff,                       )             COMPLAINT FOR VIOLATION
13                                    )             OF THE FEDERAL FAIR DEBT
            vs.                       )             COLLECTION PRACTICES ACT
14
                                      )
15   FMS, INC.,                       )
                                      )
16
     Defendant.                       )
17   ________________________________ )
18
                                    I. INTRODUCTION
19
           1. This is an action for damages brought by an individual consumer for
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21   Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
22
     §1692, et seq. (hereinafter “FDCPA”), which prohibit debt collectors from
23

24
     engaging in abusive, deceptive, and unfair practices.

25                                  II. JURISDICTION
26
           2.      Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
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                                       III. PARTIES
2
           3.      Plaintiff, Sandra Vazquez (“Plaintiff”), is a natural person residing in
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4    Philadelphia county in the state of Pennsylvania, and is a “consumer” as defined
5
     by the FDCPA, 15 U.S.C. §1692a(3).
6

7          4.      At all relevant times herein, Defendant, FMS, Inc., (“Defendant”)
8
     was a company engaged, by use of the mails and telephone, in the business of
9
     collecting a debt from Plaintiff which qualifies as a “debt,” as defined by 15
10

11   U.S.C. §1692a(5). Defendant regularly attempts to collect debts alleged to be due
12
     another, and therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C.
13

14   §1692a(6).
15
                              IV. FACTUAL ALLEGATIONS
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17
           5.      At various and multiple times prior to the filing of the instant

18   complaint, including within the one year preceding the filing of this complaint,
19
     Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
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21         6.      Defendant is contacting Plaintiff in connection with an alleged debt
22
     that she does not owe.
23

24         7.      On more than one occasion, Plaintiff informed Defendant, that she is
25
     not the debtor as her social security number does not match that of the debtor.
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1          8.      Defendant contacted Plaintiff at times and places that were known to
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     be inconvenient, including but not limited to, calls to Plaintiff’s employer, where
3

4    such calls are against the policies of Plaintiff’s employer.
5
           9.      On more than one occasion, Defendant contacted Plaintiff’s co-
6

7    workers, for purposes beyond obtaining Plaintiff’s location information.
8
           10.     On more than one occasion, Defendant contacted Plaintiff’s co-
9
     workers, disclosing Defendant’s identity and the existence of an alleged debt
10

11   owed by Plaintiff, without being expressly requested.
12
           11.     Defendant used deceptive practices in an attempt to collect the
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14   alleged debt, falsely representing that Plaintiff had previously confirmed her
15
     identity as the debtor, where in fact, Plaintiff has advised Defendant on several
16

17
     occasions, that her social security number does not match that of the debtor.

18         12.     Defendant continued to contact Plaintiff directly, despite having
19
     been aware and receiving Plaintiff’s counsel’s letter of representation.
20

21         13.     Defendant’s conduct violated the FDCPA in multiple ways,
22
     including but not limited to:
23

24                 a) In connection with an attempt to collect an alleged debt
                      from Plaintiff, contacting a third party for purposes other
25
                      than obtaining location information (§1692b &
26                    §1692c(b));
27
                   b) In connection with an attempt to collect an alleged debt
28                    from Plaintiff, providing the identity of Defendant to a



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1                   third party without such information being expressly
2                   requested (§1692b(1) & §1692c(b));
3
                 c) Disclosing to a third party the existence of the debt
4                   allegedly owed by Plaintiff (§1692b(2) & §1692c(b));
5
                 d) Communicating with a single third party more than once
6                   in connection with an attempt to collect an alleged debt
7                   from Plaintiff (§1692b(3) & §1692c(b));
8
                 e) Repeatedly contacting Plaintiff at his/her place of
9                   employment after being informed that such calls are
                    inconvenient to Plaintiff and violate the policy of
10
                    Plaintiff’s employer (§1692c(a)(1)(3));
11

12               f) Communicating with Plaintiff at times or places which
                    were known or should have been known to be
13
                    inconvenient for Plaintiff (§1692c(a)(1));
14
                 g) Engaging in conduct the natural consequence of which is
15
                    to harass, oppress, or abuse Plaintiff (§1692d));
16

17
                 h) Using false, deceptive, or misleading representations or
                    means in connection with collection of a debt (§1692e));
18

19               i) Using unfair or unconscionable means against Plaintiff in
                    connection with an attempt to collect a debt (§1692f));
20

21               j) Collecting an amount from Plaintiff that is not expressly
22
                    authorized by the agreement creating the debt
                    (§1692f(1));
23

24               k) Collecting an amount from Plaintiff that is not permitted
                    by law (§1692f(1)).
25

26
           14.   As a result of the above violations of the FDCPA Plaintiff suffered
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     and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
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1    embarrassment, mental anguish and emotional distress, and Defendant is liable to
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     Plaintiff for Plaintiff’s actual damages, statutory damages, and costs and
3

4    attorney’s fees.
5

6

7                       COUNT I: VIOLATION OF FAIR DEBT
                          COLLECTION PRACTICES ACT
8

9          15.    Plaintiff reincorporates by reference all of the preceding paragraphs.
10
                                 PRAYER FOR RELIEF
11

12         WHEREFORE, Plaintiff respectfully prays that judgment be entered
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     against the Defendant for the following:
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                  A.    Actual damages;
15
                  B.    Statutory damages;
16
                  C.    Costs and reasonable attorney’s fees; and
17
                  D.    For such other and further relief as may be just and proper.
18

19

20               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
21
                  Respectfully submitted this 20th day of December 2012.
22

23                                   By:     /S/ Cynthia Z. Levin
                                             Cynthia Z. Levin, Esq.
24
                                             Law Offices of Todd M. Friedman, P.C.
25                                           1150 First Avenue, Suite 501
26
                                             King of Prussia, PA 19406
                                             Phone: 888-595-9111 ext 618
27                                           Fax: 866 633-0228
28                                           clevin@attorneysforconsumer.com
                                             Attorney for Plaintiff


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